                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


                        NOTICE OF GARNISHMENT AND EXEMPTIONS

                     YOUR MONEY MAY BE TAKEN TO PAY A CREDITOR.
                             PLEASE READ THIS NOTICE CAREFULLY


        The attached Writ of Garnishment and Answers to Garnishee Interrogatories have been
issued on request of a creditor (the plaintiff) who sued you and won and got a judgment against
you (or a prejudgment Writ of Garnishment has been issued against you). This means that
money held for you by the garnishee (such as your bank or employer) may be taken by the
Plaintiff to pay a judgment against you. If you are not sued but own an account with someone
who was sued, read this Notice too.

        The law provides that certain monies cannot be taken to pay judgments. Such money is
said to be exempt. The following is a partial list of funds that are exempt:

        * Social Security Benefits                  * Alimony or Child Support
        * Supplemental Security Income (SSI)        * Veterans' Benefits
        * Certain Pensions                           * Workers' Compensation benefits
        * Unemployment Benefits
        * Public Assistance (Welfare)
        * Part of your wages (all of your wages if the Writ of Garnishment is issued prior to any
        judgment being rendered against you)
        * Property or money of a person who did not have a judgment entered against them.

       There may be additional exemptions. There is no exemption solely because you are
having difficulty paying your debts. The above exemptions may not apply to judgments for
alimony and child support.

       The law also recognizes that if the money or property that are to be taken belong to
you, but the judgment is not against you, your money should not be taken.

       If you are a co-owner of property that is taken, you should request a hearing to protect
your share.

IF THE MONEY IN AN ACCOUNT DOES NOT BELONG TO YOU, OR IF YOU ARE AWARE OF
OTHER REASONS WHY THIS MONEY SHOULD NOT BE TAKEN, YOU MAY WANT TO CONSULT
AN ATTORNEY.
       Because of the garnishment, your place of employment or your financial institution or
other person was required to hold the amount of money claimed by the plaintiff. This means
that you may not now withdraw or get this money.

        If you believe that the Writ of Garnishment was issued improperly, that the Answers
to Interrogatories are inaccurate, or that you are entitled to an exemption, DO THE
FOLLOWING IMMEDIATELY. You have a deadline of ten (10) days from the date the plaintiff
mailed or delivered this notice to you.

1.     If funds in your account were garnished, on the attached "Request for Hearing" check
       the appropriate box(es) in paragraph one.

2.     If your wages were garnished, on the attached "Request for Hearing" check the
       appropriate boxes in paragraph two.

3.     Sign your name in the space indicated and provide the address where the Court Clerk is
       to notify you of the hearing.

       A KNOWINGLY-MADE FALSE STATEMENT ON THE FORM MAY SUBJECT YOU TO
       CRIMINAL PENALTIES.

4.     Mail or take the Request for Hearing to the Court Clerk within ten (10) days from the
       date this notice was mailed or delivered to you. Mail a copy of the Request for Hearing
       to the garnishee. Keep the second copy of the "Request for Hearing" for your records.
       The Clerk of Court will set the matter for hearing and notify you. You have a right to a
       hearing within ten (10) days from the date the Clerk of Court receives your claim. At the
       hearing in Court, you will have to prove that your money is exempt. You should bring
       any documents which may help to prove your money is exempt.

       You may wish to consult an attorney for advice or assistance concerning the hearing. If
you do not come to Court on the designated time and prove that the garnishment was issued
improperly, that the answers to the interrogatories are inaccurate, or that your money is
exempt, you may lose some of your rights.

If you do not request a hearing within the time specified above, but you believe that the
garnishment was issued improperly, that the answers to interrogatories are inaccurate or that
you are entitled to an exemption, you should consult an attorney. The attorney may be able to
assist you by filing papers with the Court.
                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH



APOTHECARY MOVEMENT, LLC, a Utah
                                                *
limited liability company                       *
Plaintiff,                                      *              REQUEST FOR HEARING
                                                *
                                                *
           vs.                                  *
BH ELEGANT LINENS dba AA WHOLESALE                             CIVIL NO.
DEALS, and Swift Innovations                    *                          2:23-cv-ooa45
 Defendant,                                     *
                                                *

 I.        Respond to these items if funds in your account were garnished:

           A;     []   I believe that the Writ of Garnishment was issued improperly.          (Explain)



      fd



           B.     []   I believe that the Answers to Interrogatories are inaccurate.       (Explain)




           C.     [ ] The funds in my account are exempt from garnishment because
                  they are: (Check applicable boxes):

                  [] Social Security Benefits                  [] Pensions
                  [] Supplemental Security Income (SSI)        [] Alimony/child support
                  [ ] Veterans' Benefits                       [ ] Public Assistance (welfare)
                  [ ] Unemployment Benefits                    [ ] Owned by another person
                  [ ] Workers' Compensation Benefits           [ ] Partly owned by me
                  [ ] Wages/income from personal services
                  [] Other (describe) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                    ;--




      D.     Check one box:
             []     All funds in my account are exempt.
             []     I believe that$ _ _ _ _ of the amount in my account is
                     exempt.       (Fill in the dollar amount you believe is exempt.)




      E.     Check if applicable
             []     I claim ownership of all or part of the money or property taken and I am
                    not one of the persons against whom a judgment has been entered.




      F.     Check if applicable
             []     I have attached copies of the documents that show that my money is
                    exempt.


11.   Respond to these items if all or part of your wages were garnished.
      A.     []     I believe that the writ of garnishment was issued improperly. (Explain)




      B.     [l     I believe that the Answers to Interrogatories are inaccurate.       (Explain)




      C.     [l     I believe that all or part of my wages are exempt from garnishment.
                    (Explain) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                    j_




THE STATEMENTS MADE IN THIS REQUEST ARE TRUE TO THE BEST OF MY KNOWLEDGE AND
BELIEF, AND I HEREBY REQUEST THAT THIS MATTER BE SET FOR A HEARING. I HAVE SENT A
COPY OF THIS REQUEST FOR HEARING TO THE GARNISHEE.



      DATEDTHIS _ _ _ _ DAYOF _ _ _ __,20 _ _.
      (Please      Name:
      type or      Address:
      print)


                   Telephone:
                   Signature:
                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


                              INTERROGATORIES TO GARNISHEE
                            (Not for earnings for personal services)
                                                      APOTHECARY MOVEMENT, LLC, a Utah limited liability company vs
                                                      BH ELEGANT LINENS dba AA WHOLESALE DEALS, a
Bank of America                                       New Jersey Company, and SWIFT INNOVATIONS

       Garnishee Name                                                Case Title

                                                                    2:23-cv-00845

                                                                     Case Number


(Give your answers in the spaces provided and attach additional sheets if necessary.)


1.     Are you indebted to the Defendant(s) either in property or money?


       ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


2.     What is the nature of the indebtedness?


       ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




3.     What is the total amount of the indebtedness?


       ANSWER:$_ _ _ _ _ __


4.     Is the indebtedness now due?


       ANSWER: _ _ _ _ _ _ __
5.   If not, when is it to become due?


     ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


6.   Have you in your possession, in your charge or under your control any property or
     money in which Defendant(s) has (have) an interest other than as set forth in your
     answers above?


     ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


7.   If so, identify or describe such property or money and value of defendant's interest in it.


     ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



     Identification                                Amount or Value of
     or Description                                 Defendant's Interest




8.   Do you know of any debts owing or which may be owing from any other person to
     Defendant(s) whether due or not, or of any property of Defendant(s) or in which
     Defendant(s) has (have) an interest in any person's possession or control?


     ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


9.   If so, state the full particulars thereof, including the amount, identification of any Third
     Party with interest, and description of the debt and/or location of the custodian.


     ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
10.    Have you retained or deducted from the property or money you owe in debt to
       Defendant any amount in payment, whether full or in part, of a debt owed in debt to
      you by either the Defendant or Plaintiff?


       ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


11.    If so, please indicate the amount so retained or deducted and the person indebted for
       whom the amount has been retained or deducted.


       ANSWER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                    Signature of Garnishee




STATE OF UTAH


COUNTY OF


       I do swear or affirm that: I am the garnishee or person authorized to execute this
document;
       I make this verification on behalf of garnishee; and the answers to the foregoing
       interrogatories are true to the best of my knowledge and belief.


       I also swear or affirm that I mailed by first class mail or hand-delivered a copy of the
Writ of Garnishment, Answers to Interrogatories, Notice of Garnishment and Exemptions,
and two (2) copies of a Request for Hearing, to the Defendant at:
                Defendant's name: BH ELEGANT LINENS dba M WHOLESALE DEALS, aNew Jersey company, and Swift Innovations
                Street address: 55 Talmage Road
                City: Edison                            State:_N_J_ _ _ Zip: 08817
                on this date: _ _ _ _ _ _ _ __


         I also swear or affirm that I also mailed by first class mail or hand-delivered one copy
each of the Writ of Garnishment, Answers to Interrogatories, Notice of Garnishment and
Exemptions, and Request for Hearing to the following person(s).




Name Address                       Date Mailed         or        Date Hand-Delivered




                                   Signature of Garnishee or Authorized
                                      Signature on Behalf of Garnishee




SUBSCRIBED AND SWORN to before me this _ _ _ _ day of _ _ _ __, 20_ _


(SEAL)


                                                 NOTARY PUBLIC
                          Residing at:
                                          ---------------
                          My Commission Expires on _ _ _ _ _ _ _ _ _ _ _ __
